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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

MARK WALTERS,                                 )
                    Plaintiff,                )
                                              )
              v.                              )     No. 1:23-CV-03122-MLB
                                              )
OPENAI, L.L.C.,                               )
                                              )
                    Defendant.                )

                                 NOTICE OF APPEAL

       Please take notice that Plaintiff Mark Walters appeals to the United States

Court of Appeals for the Eleventh Circuit from the October 25, 2023 Order [Doc.

39] denying Plaintiff’s motion for costs and attorney’s fees [Doc. 34] upon remand

to state court.




                                              ______/s/ John R. Monroe______________
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